Case 3:18-cv-01280-SMY-RJD Document 34 Filed 09/13/19 Page 1 of 1 Page ID #64



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


CATHERINE BAUER,                                      )
                                                      )
                          Plaintiff,                  )
                                                      )
vs.                                                   )   Case No. 18-cv-1280-SMY-RJD
                                                      )
COLLINSVILLE METROPOLITAN                             )
EXPOSITION AUDITORIUM AND                             )
OFFICE BUILDING AUTHORITY d/b/a                       )
GATEWAY CENTER,                                       )
                                                      )
                          Defendant.                  )


                                JUDGMENT IN A CIVIL ACTION

        IT IS HEREBY ORDERED AND ADJUDGED that, having been advised by the parties

that all claims in this matter have been settled or otherwise resolved, Plaintiff's claims against the

Defendant are DISMISSED with prejudice. Accordingly, the Clerk of Court is DIRECTED to

close this case.

DATED: September 13, 2019

                                                  MARGARET M. ROBERTIE,
                                                  Clerk of Court

                                                  By: s/ Stacie Hurst, Deputy Clerk


Approved:




                   STACI M. YANDLE
                   United States District Judge
